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            IN THE CIRCUIT COURT OF T l - E THIRTEENTH JUDICIAL CIRCUIT
               IN AND FOR HILLSBOROUGH COUNTY, STATE OF FLORIDA
                                 CIVIL DIVISION

VIRGINIA DENEEN YAZID,
as Personal Representative of the
ESTATE OF MUSA AKlL MASOMAKALI
YAZID, deceased, for and on behalf of the Estate
and all survivors,                                                             07                    ~05818
               Plaintiff,                                    CASE NO.:                                      \   1


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v.
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CITY OF TAMPA, JASON BROCATO,                                                   MAY 1 6                 2007
and DAVlD JOYNER
                                                                            CLERK                        )I'!' COURT
                                                                                                   L,,--,~,,


               Defendants.
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                      COMPLAINT AND DEMAND FOR ,JURY TFUAL

       Plaintiff, VIRGINIA DENEEN YAZItI, as Personal Representative of the ESTATE OF

MUSA A K L MASOMAKALT YAZID , deceased, for and on behalf of the Estate and all

survivors, by and through undersigned counsel, hereby sues the Defendants, CITY OF TAMPA,

JASON BROCATO, and DAVID JOYNER, and alleges as follows:


                                    Jurisidiction and Venue

       1.      This is an action for damages in excess of $15,000.00.

       2.      Venue is proper in this court as the acts or omissions giving rise to this cause of

action occurred in Hillsborough County, Florida, and all parties are residents of Hillsborough

County, Florida.

       3.     At all times material hereto, Virginia Deneen Yazid was and is the duly appointed
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Personal Representative of the Estate of Musa Akil Masomakali Yazid (hereinafter, "MUSA

YAZID"), deceased, and is the proper party to bring this action. A copy of the Letters of

Administration is attached as Exhibit A.

       4.      The beneficiaries of the Estate and survivors pursuant to the Florida Wrongful

Death Act ( 5 768.18, Florida Statutes) are as follows:

               a.      Virginia Deneen Yazid, surviving spouse of MUSA YAZID (Date of

                       Birth: 04112/66);

               b.      Jarneisha Williams, surviving daughter of MUSA YAZID (Date of Birth:

                       08/03/89); and

               c.      Khalid Earl Alphonso Yazid, surviving son of MUSA YAZID (Date of

                       Birth: 06130199).

       5.    At all times relevant hereto and in all actions described herein, MUSA YAZlD was

an Acrican American male, a resident of Tampa, Floricia and a citizen of the United States of

America, who is now deceased.

       6.   Defendant. CITY OF TAMPA, is a political subdivision of the State of Florida, a

Florida rr~unicipalcorporation, and lies within the confines of Hillsborough County, Florida.

       7.      At all times relevant hereto, CITY OF TAMPA employed Defendants, JASON

BROCATO and DAVID JOYNER as sworn police officers with the Tampa Police Department

(hereinafter "TPD").

       8.      At all times relevant hereto and in all actions described herein, Defendants

BROCATO and JOYNER acted under color of law and within the scope of their employment as

sworn police officers with the City of Tampa Police Department.
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           9.    Pursuant to 5 768.28(6)(a), Florida Statutes (2005), Plaintiff notified CITY OF

TAMPA of her claim six (6) months or more prior to the filing of this action, and said clairns

were not resolved. The Notice of Claim was also presented concurrently to all appropriate

entities, including the State of Florida Department of Financial Services, as prescribed by law. A

true and correct copy of the Notice of Claim, along with the certified return receipt, is attached

hereto as Exhibit "B", and is incorporated herein by reference.

           10.   All conditions precedent to the maintenance of this action have occurred or have

been waived.

                                        Factual Alle~ations

           11.   On May 19, 2005, JOYNER was stationary in his patrol car at the intersection of

Temple and Riverhills Drive in the City of Tampa, Florida, acting in the course and scope of his

employrnent as a police officer for TPD, and patrolling for traffic violations, particularly vehicles

which failed to come to a complete stop before turning onto Riverhills Drive from 46thStreet.

           12.   On May 19, 2005 at approximately 3:20 p.m., MUSA YAZD was operating a

motor vehicle on 46thStreet near its intersection with Riverhills Drive in Tampa, Florida.

YAZIT) allegedly failed to completely stop at the intersection and turned west onto Riverhills

Drive.

           13.   Defendant JOYNER pulled YAZID'S vehicle over on the 4200 block on

Riverhills Drive under the alleged grounds that YAZID failed to come to a complete stop before

turning west from 46" Street onto Riverhills Drive.

           14.   Defendant JOYNER approached YAZID'S vehicle and requested his driver's

license.         15.    MUSA YAZID did not have his driver's license in his possession but
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provided DeFendant JOYNER with his name.

        16.    When Defendant JOYNER was unable to locate a match for YAZID'S name.

Defendant JOYNER decided to remove YAZID from the vehicle, handcuff him, and place him in

the back of his patrol car while he continued to try to verify YAZID'S identity.

        17.    At this time, JOYNER had no probable cause to believe YAZID had committed

any wrongdoing other than possibly violate a traffic regulation.

       18.     At this time, JOYNER had no information or probable cause to believe YAZID

was dangerous, violent, or a threat to anyone.

       19.     At this time, JOYNER knew he had no probable cause or authority to arrest

               YAZID.

       20.     Defendant JOYNER called for backup assistance and engaged in casual

conversation with YAZID at the window of YAZID's vehicle while he awaited back up.

       21.     Defendant, JASON BROCATO had been on duty since 2 p.m. on May 19,2005

and was doing paperwork in the vicinity when he received JOYNER'S call for assistance.

Defendant BROCATO arrived at the scene shortly thereafter and approached the back of

YAZID's vehicle to talk with JOYNER.

       22.     Defendants JOYNER and BROCATO then demanded that YAZTD get out of the

vehicle, without explaining their reason for making such demand.

       23.     At this time, JOYNER and BROCATO had no information or probable cause to

believe YAZlD was dangerous, violent, or a threat to anyone.

       24.    Concerned about being ordered to leave the vehicle without explanation, YAZID

questioned and argued with the officers, but then began gathering his possessions in preparation
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for exiting the vehicle, although he had not been told he was being arrested, nor had he been told

he was about to be handcuffed or detained in the back of a patrol car.

        25.     Impatient with the speed at which YAZID was exiting the vehicle. Defendants

JOYNER and BROCATO forcefully began to pull him from the vehicle, assaulting and battering

him in the process.

        26.    Prior to this time, YAZID had made no threats, gestures, or threatening motions

toward any person, including Officers JOYNER and BROCATO.

        27.    The assault and battery on YAZID, included, but was not limited to, yanking him

from the vehicle, knee spikes to his thighs; knee spikes to his mid-section; and hammer fist

strikes to his arms.

       28.     YAZID managed to make his way back into his vehicle to protect himself against

the unlawful battering by the officers.

       39.     At no time did YAZID strike, attempt to attack the officers, or otherwise engage

in any action other than attempts to protect himself from the unlawful battering by the officers.

       30.     Before he was able to close his door, the officers pointed and shot their taser

weapons several times through the driver's side window and door of the vehicle, striking

YAZJD numerous times on his chest and extremities.

       3 1.    YAZID'S body began to jerk about the vehicle as a result of the numerous taser

attacks and his vehicle began to roll slowly forward.

       32.     Without provocation or justification, Defendant BROCATO ran from the driver's

side towards the front of the vehicle and opened fire on YAZID with his Glock service weapon.

       33.     At the same time, Defendant JOYNER, without provocation or justification, also

opened fire on YAZlD with his Glock service weapon.

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        34.     The vehicle continued to slowly roll several feet and came to rest against a tree in

a neighboring yard.

        35.     MUSA YAZTD suffered at least six gunshot wounds to his upper body and upper

extremities while inside the vehicle.

        36.     The bullet determined by autopsy to have killed YAZID entered his body through

the left side of his back, piercing through muscle, his vertebral column, his spinal canal, his

spinal cord, his sixth right rib, his right lung, and finally coming to rest in his right pectoralis

minor muscle.

       37.      Once the vehicle stopped, Defendants BROCATO and JOYNER forcefully jerked

YAZID'S body from the vehicle, crushed him to the ground and handcuffed him, again without

provocation or justification.

        38.     Defendant JOYNER joined the police force in November, 2004 with no prior law

enforcement experience.

       39.      Defendant BROCATO joined the police force in October, 2004 with no prior law

en forcen~entexperience.

                                              COUNT I
                    (Wrongful Death as to Defendant JASON BROCATO)
       40.      PLAINTIFF realleges and incorporates by reference Paragraph 1 through 39 above.

       41.      This action is brought pursuant to the Florida Wrongful Death Act.

       42.      At all times material, Defendants owed YAZID a duty to act within the confines,

bounds, limitations, and restrictions of the Constitution of the United States of America and its

Amendments, and to refrain from violating the Constitutional rights of YAZID.

       43.      The conduct of Defendant BROCATO toward YAZID constituted an unreasonable
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seizure and use of excessive force against YAZD.

        44.    The unreasonable and unnecessary use of force by Defendant BROCATO, individualy

was excessive and objectively unreasonable under the circumstances, and resulted in the battery and

death of YAZID.

        45.    At all times material hereto, Defendant Brocato acted in bad faith, with malicious

purpose, or in a manner exhibiting wanton and willful disregard of human rights, safety, or property.

       46.     As a direct and proximate result of BROCATO' s breach of the aforementioned duties,

MUSA YAZID died on May 19,2005and the ESTATE of MUSA YAZlD sustained damages in the

form of medical expenses and funeral expenses.

       47.     As adirect and proximate result of CITY of TAMPA'S actions, MUSA Y A Z D died

on May IS), 2005 and the surviving children of MUSA YAZID, Jameisha Williams and Khalid Earl

Alphonso Yazid sustained damages in the form of mental pain and suffering, lost parental

companionship, instruction, and guidance, and lost support and services.

       48.     As adirect and proximate result of CITY of TAMPA'S actions, MIJSA YAZID died

on May 19,2005 and his surviving spouse, Virginia Deneen Yazid, sustained damages in the form

of mental pain and suffering, lost companionship and protection, and lost support and services.

       Wherefore, Plaintiff demands judgment for damages against Defendant Brocato and for such

other and further relief as the court deems appropriate.



                                            COUNT II
                     (Wrongful Death as to Defendant DAVID JOYNER)

       49.     PLAINTIFF realleges and incorporates by reference Paragraph 1 through 39 above.

       50.     This action is brought pursuant to the Florida Wrongful Death Act.
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        5 1.   At all times material, Defendants owed YAZID a duty to act withn the confines,

bounds, limitations, and restrictions of the Constitution of the United States of America and its

Amendments, and to refrain from violating the Constitutional rights of YAZID.

        52.    The conduct of Defendant JOYNER toward YAZID constituted an unreasonable

seizure and use of excessive force against YAZID.

        53.    The unreasonable and unnecessary use of force by Defendant JOYNEiR was excessive

and objectively unreasonable under the circumstances, and resulted in the battery and death of

YAZID.

       54.     At all times material hereto, Defendant JOYNER acted in bad faith, with malicious

purpose, or in a manner exhibiting wanton and willful disregard of human rights, safety, or property.

        55.    As a direct and proximate result of JOYNER'S breach of the aforementioned duties,

MUSA YAZD died on May 19,2005 and the ESTATE of MUSA YAZlD sustained damages in the

form of medical expenses and funeral expenses.

       56.     As a direct and proximate result of CITY of TAMPA'S actions, bWSA YAZID died

on May 19,2005 and the surviving children of MUSA YAZID, Janleisha Williams and Khalid Earl

Alphonso Yazid sustained damages in the form of mental pain and suffering, lost parental

companionship, instruction, and guidance, and lost support and services.

       57.     As a direct and proximate result of ClTY of TAMPA'S actions, MUSA YLUIDdied

on May 19,2005 and his surviving spouse, Virginia Deneen Yazid, sustained damages in the form

of mental pain and suffering, lost companionship and protection, and lost support and services.

       Wherefore, Plaintiff demands judgment for damages against Defendant Joyner and for such

other and further relief as the court deems appropriate.
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                                             COUNT 111
                   (Wrongful Death Against Defendant CITY OF TAMPA)
       58.     PLAINTIFF realleges and incorporates by reference Paragraph 1 through 39 above.

       59.     This action is brought pursuant to $768.28, Fla. Stat, and the Florida Wrongful Death

Act.

       60.     Defendant CITY OF TAMPA maintains a police department which owes a duty of

due care in the conduct of its law enforcement operations to the citizenry in general, and to N S A

YAZID in particular.

       6 1.    At all times material, CITY OF TAMPA owed a duty to Yazid to protect him from

the injuries and damages described herein.

       62.     Defendants BROCATO and JOYNER, at all material times, were acting within the

course and scope of their employment with the City of Tampa Police Department. As such,

Defendant CITY OF TAMPA is responsible for the acts and omissions of these officers.

       63.    The conduct of Defendants BROCMO and JOYNER towards YAZID constituted

the unnecessary and excessive use of force and a breach of duties owed by the CITY OF TAMPA.

       64.    The unreasonable and unnecessary use of force by Defendants BROCATO and

JOYNER was excessive and objectively unreasonable under the circumstances and resulted in the

battery and death of YAZID.

       65.    As a direct and proximate result of the acts of BROCATO and JOYNER, MUSA

YAZID died on May 19,2005 and the ESTATE of MUSA YAZID sustained damages in the form

of medical expenses and funeral expenses.

       66.    As a direct and proximate result of CITY of TAMPA'S actions, MUSA YAZID died

on May 19,2005 and the surviving children of MUSA YAZJD, Jameisha Williams and Khalid Earl
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Alphonso Yazid sustained damages in the form of mental pain and suffering, lost parental

companionship, instruction, and guidance, and lost support and services.

        67.     As a direct and proximate result of CITY of TAMPA'S actions, MUSA Y A Z D died

on May 19,2005 and his surviving spouse, Virginia Deneen Yazid, sustained damages in the form

of mental pain and suffering, lost companionship and protection, and lost support and services.

        Wherefore, Plaintiff demands jud,ment for damages against Defendant City of Tampa and

for such other and further relief as the court deems appropriate.



                                             COUNT IV
                              (42 1J.S.C. 9 1983 as to Jason Brocato)
        68.    PLAINTIFF realleges and incorporates by reference Paragraphs 1 through 39 above.

        69.    This is an action arising pursuant to 42 U.S.C. 3 1983 and 9 1988 and the Fourth and

Fourteenth Amendments to the United States Constitution.

        70.    Title 42 U.S.C. $ 1983 prohibits every person acting under color of state law from

subjecting citizens of the United States to the deprivation of any rights, privileges, or immunities

secured by the United States Constitution and its laws, including the right to be free from unlawful

seizures andlor restraint of their person and liberty.

       7 1.    On or about May 19,2005, Defendant, JASON BROCATO, under the color of law,

violated clearly established law and deprived YAZID of his Merally protested constitutional rights

including, but not limited to:

               a.      YAZID'S right to be free fiom unlawfuI searches and seizures;

               b.      YAZID'S right to be free from deprivation of his liberty without due process

                       of law; and
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               c.        YAZID'S right to be free from the use of excessive and unreasonable force.

        72.    The actions of Defendant BROCATO violated YAZTD's clearly established

constitutional rights of which any reasonable member of the public, other area law enforcement, or

members of the Tampa Police Department should have known.

        73.    Defendant, BROCATO took these actions with knowledge that such actions were in

violation of YAZID'S constitutional rights, but proceeded with the wrongful and unlawful actions

with a willful and reckless disregard for the consequences of his actions, and with deliberate

indifference toward the constitutional rights of YAZID.

        74.    The use of excessive and deadly force by BROCATO was not necessary to prevent

escape by YAZID.

        75.    At the time he used excessive and deadly force, BROCATO did not have probable

cause to believe that YAZlD posed a significant threat of death or serious injury to BROCATO,

JOYNER or others.

        76.    At the time he used excessive and deadly force, BROCA'TO did not have probable

cause to believe YAZID had committed a crime involving the infliction or threatened infliction of

serious physical harm.

        77.    At no time did BROCATO provide warning to YAZID that deadly force would be

used.

        78.    Defendant BROCATO deprived YAZJD of his rights guaranteed by the United States

Constitution in violation of 42 U.S.C. 5 1983by assaulting, battering, tasering, shooting and killing

YAZID unlawfully and without probable cause, subjecting him to physical injury and emotional pain

and suffering and ultimate death.

        79.    As a direct and proximate result of BROCATO'S deprivation of YAZID'S rights,

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MUSA YAZlD suffered deprivation of his civil rights, loss of liberty, mental anguish, serious and

permanent bodily injury resulting in great pain and discomfort, loss of capacity for enjoyment of life,

and death.

        80.    As a direct and proximate result of CITY of TAMPA'S actions, MUSA YAZID died

on May 19,2005 and the surviving children of MUSA YAZID, Jarneisha Williams and Khalid Earl

Alphonso Yazid sustained damages in the form of mental pain and suffering, lost parental

companionship, instruction, and guidance, and lost support and services.

       81.     As a direct and proximate result of CITY of TAMPA'S actions, MUSA YAZID died

on May 19,2005 and his surviving spouse, Virginia Deneen Yazid, sustained damages in the form

of mental pain and suffering, lost cornpanionship and protection, and lost support and services.

       82.     Plaintiff has retained the undersigned counsel to bring this action under 42 U.S.C. 5

1983 and is entitled to recover its reasonable attorneys' fees and costs pursuant to 42 U.S.C. 5 1988.

       WHEREFORE, Plaintiff requests judgment against Defendant BROCATO for damages and

for attorneys' fees and costs and such other relief as is just, proper, and equitable.



                                             COUNT V
                              (42 U.S.C.   3 1983 as to David Joyner)
       83.     PLAINTIFF realleges and inco~poratesby reference Paragraphs 1 through 39 above.

       84.     This is an action arising pursuant to 42 U.S.C. 8 1983 and § 1988 and the Fourth and

Fourteenth Amendments to the United States Constitution.

       85.     Title 42 U.S.C. § 1983 prohibits every person acting under color of state law from

subjecting citizens of the United States to the deprivation of any rights, privileges, or immunities

secured by the United States Constitution, including the right to be free from unlawful seizures
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and/or restraint of their person and liberty.

        86.      On or about May 19, 2005, Defendant, DAVID JOYNER, under the color of law,

violated clearly established law and deprived YAZID of his federally protected constitutional rights

including, but not limited to:

                 a.     YAZID'S right to be free from unlawful searches and seizures;

                 b.     YAZID'S right to be free from deprivation of his liberty without due process

                        of law; and

                 C.     YAZID'S right to be free from the use of excessive and unreasonable force.

        87.      The actions of Defendant JOYNER violated YAZID's clearly established

constitutional rights of which any reasonable inember of the public, other area law enforcement, or

members of the Tampa Police Department should have known.

        88.      Defendant, JOYNER took these actions with knowledge that such actions were in

violation of YAZID'S constitutional rights, but proceeded with the wrongful and unlawful actions

with a willful and reckless disregard for the consequences of his actions, and with deliberate

indifference toward the constitutional rights of YAZID.

        89.      The use of excessive and deadly force by JOYNER was not necessary to prevent

escape by YAZID.

        90.      At the time he used excessive and deadly force, JOYNER did not have probable cause

to believe that YAZID posed a significant threat of death or serious injury to BROCATO, JOYNER

or others.

       91.       At the time he used excessive and deadly force, JOYNEiR did not have probable cause

to believe YAZlD had committed a crime involving the infliction or threatened infliction of serious

physical harm.

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        92.     At no time did JOYNER provide warning to YAZID that deadly force would be used.

        93.     Defendant JOYNER deprived YAZID of his rights guaranteed by the United States

Constitution in violation of 42 U.S.C. 3 1983 by assaulting, battering, tasering, shooting and killing

YAZID unlawfully and without probable cause, subjecting him to physical injury and emotional pain

and suffering and ultimate death.

        94.     As a direct and proximate result of JOYNER'S deprivation of YAZID'S rights,

MUSA YAZID suffered deprivation of his civil rights, loss of liberty, mental anguish, serious and

permanent bodily injury resulting in great pain and discomfort, loss of capacity for enjoyment of life,

and death.

        95.     As a direct and proximate result of CITY of TAMPA'S actions, MUSA YAZlD died

on May 19,2005 and the surviving children of MUSA YAZTD, Jameisha Williams and Khalid Earl

Alphonso Yazid sustained damages in the form of mental pain and suffering, lost parental

companionship, instruction, and guidance, and lost support and services.

        96.    As a direct and proximate result of CITY of TAMPA'S actions, MUSA YAZID died

on May 19: 2005 and his surviving spouse. Virginia Deneen Yazid, sustained damages in the form

of mental pain and suffering, lost companionship and protection, and lost support and services.

        97.    Plaintiff has retained the undersigned counsel to bring this action under 42 U.S.C. 3

1983 and is entitled to recover its reasonable attorneys' fees and costs pursuant to 42 U.S.C. Ij 1988.

       WHEREFORE, Plaintiff requests judgment against Defendant JOYNER for damages and

for attorneys' fees and costs and such other relief as is just, proper, and equitable.



                                            COUNT VI
                     (42 U.S.C. 8 1983 as to Defendant CITY OF TAMPA)
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        98.    PLAINTIFF realleges and incorporates by reference Paragraph I through 39 above.

        99.    This is an action arising pursuant to 42 U.S.C. 5 1983 and 5 1988 and the Fourth and

Fourteenth Amendments to the United States Constitution.

        100.   Title 42 U.S.C.    5 1983 prohibits every person acting under color of state law from
subjecting citizens of the United States to the deprivation of any rights, privileges, or immunities

secured by the United States Constitution, including the right to be free from unlawful seizures

andlor restraint of their person and liberty.

        101.   On or about May 19,2005, BROCATO and JOYNER, acting under the color of law,

deprived Yazid of his rights guaranteed by the United States Constitution, in that Defendants,

BROCATO and JOYNER, under the supervisiori and control of Defendant, CITY OF TAMPA.

caused YAZID to be restrained, detained, seized, battered, and killed in violation of his rights under

the United States Constitution.

        102.   Prior to May 19,2005, Defendant, CITY OF TAMPA was deliberately indifferent to

or encouraged, permitted, tolerated, or ratified a practice and custom of excessive and unreasonable

searches and seizures and excessive and unreasonable use of force by police officers, including, but

not limited to, Defendants BROCATO and JOYNER.

       103.    Although the searches, seizures, and use of force were improper, the officers were not

appropriately prosecuted, disciplined, counseled or trained.

       104.    As a result, TarnpaPolice Department officers were encouraged to believe that illegal

searches and seizures, and excessive and unreasonable use of force would be encouraged, permitted,

tolerated, ratified, andfor deliberately ignored by the CITY OF TAMPA.

       105.    The CITY OF TAMPA also instituted, adopted, or ratified policies and customs that

allow or encourage the hiring and retention of deputies, including BROCATO and JOYNER, without

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adequate training and supervision, which violated well-established constitutional rights.

        106.    The C R Y OF TAMPA employed a widespread custom or practice, which had the

force and effect of policy, that allowed deputies, including BROCATO and JOYNER, to work

without adequate training or supervision, which violated well-established constitutional rights.

        107.    C R Y OF TAMPA failed to adequately train and educate its deputies, including

BROCATO and JOYNER, as to the proper use of force during investigatory stops and arrests. Such

failure constituted a deliberate indifference to the rights of persons subject to such conduct, including

YAZTD.

        108.    CITY OF TAMPA failed to institute and enforce sufficient and adequate policies

explaining the proper andlawful manner to determine criminal violations of law and to detain, arrest,

or use deadly force so as not to violate well-established constitutional rights.

        109.    CITY OF TAMPA failed to monitor and supervise its deputies with respect to the

tactics being employed when worlung in the field. Such failure constituted a deliberate indifference

to the rights of persons subject to such conduct, including YAZID.

        110.   Defendant CITY OF TAMPA knew or should have known the wrongful acts alleged

herein were llkely to happen and had the power to prevent or aid in preventing the commission of

such wrongs and could have done so by reasonable diligence, yet knowingly, recklessly, and with

gross negligence, failed or refused to do so.

        111.   These deficiencies in hiring, training, supervising, or disciplining police officers

constitutes a de facto or informal policy which led to violation of constitutional rights.

       112.    The actions of Defendants BROCATO and JOYNER, as described herein, were done

pursuant to policies, customs and practices of Defendant, ClTY OF TAMPA.

       113.    The above-described actions subjected YAZID to a deprivation of rights and

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privileges secured to Plaintiff by the Constitution and laws of the United States, including the due

process clause of the Fourteenth Amendment to the Constitution of the United States, within the

meaning of 42 U.S.C. 5 1983.

        114.    As a direct and proximate result of ClTY OF TAMPA'S acts and omissions, MUSA

YAZtD incurred losses and damages, including, but not limited to; deprivation of his civil rights,

loss of liberty, mental anguish, serious and permanent bodily injury resulting in great pain and

discomfort, loss of capacity for enjoyment of life, and death.

        115.    As a direct and proximate result of ClTY of TAMPA'S actions, MUSA YAZlD died

on May 19,2005 and the surviving children of MUSA YAZID, Jameisha Williams and Khalid Earl

Alphonso Yazid sustained damages in the form of mental pain and suffering, lost parental

companionship, instruction, and guidance, and lost support and services.

        116.    As a direct and proximate result of CITY of TAMPA'S actions, MUSA YAZID died

nn May 19,2005 and his surviving spouse. Virginia Deneen Yazid, sustained damages in the form

of mental pain and suffering, lost companionship and protection, and lost support and services.

        I 17.   Plaintiff has retained the undersigned counsel to bring this action under 42 U.S.C.

1983 and is entitled to recover its reasonable fees for said counsel.

       WHEREFORE, Plaintiff requests judgment against Defendant ClTY OF TAMPA for

damages, attorneys fees and costs, and such other relief as is just, proper, and equitable.
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                               DEMAND FOR JURY TRIAL

     Plaintiff demands a trial by jury as to all issues so triable.




                                                     Camille Godwin
                                                     Florida Bar No.: 0974323
                                                     Stephen L. Romine
                                                     Florida Bar No.: 093 1780
                                                     Cohen, Jayson & Foster, P.A.
                                                     201 E. Kennedy Blvd., Suite 1000
                                                     Tampa, Florida 33602
                                                     8 131225- 1655 (tel)
                                                     8131 225-1921 (fax)
                                                     Attorneys for Plaintiff
Case 8:07-cv-00921-EAK-EAJ Document 2 Filed 05/30/07 Page 19 of 25 PageID 49




   IN THE CIRCUIT COURT OF THE TflIEtTEENTH
   JUDICIAL CIRCUIT INAND FOR HILLSBOROUGH
   COUNTY, FLORIDA, PROBATE DIVISION

   IN RE: ESTATE OF                     File No..:
                                        Div.: A
                                                     .=- 239 1
   MUSA AKTL MASOMAKALI YAZTD,

   DECEASED.
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   TO ALL WHOM IT MAY CONCERN:
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                                                                                        r
             WHEREAS, MUSA AKIL MASOMAKALI YAZID,a resident of Hillsborough c
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                                                                            y
                                                                            ,

   died on May 19,2005, owning assets in the State of Florida, and
             WHEREAS, VIRGINLA DENEEN YAZID has been appointed personal representative of
   the estate of the decedent and has performed all acts prerequisite to issuance of Letters of
   Adminisnation in the estate,
          NOW, THEREFORE, I, the undersigned circuit judge, declare VIRGINIA DENEEN
   YAZID duly qualified under the laws of the State of Florida to act as personal representative of the
  estate of MUSA AIUL MASOMAKALI YAZID, deceased, with fblI power to administer the estate
  according to law; to ask, demand, sue for, recover and receive the property of the decedent; to pay
  the debts. of the decedent as fiir as the assets of the estate will permit and the law diiects; and to
  make distribution of the estate according to law.


          ORDERED on        Z 3 &7       ,        ,2005.



         -              . - .                ',        Circuit Court Judge

                    to:
  Copies fumifumished
  Barnett, Bolt, Kirkwood, LO& & McBride
      Case 8:07-cv-00921-EAK-EAJ Document 2 Filed 05/30/07 Page 20 of 25 PageID 50


                                                    Cohen, Jayson &Foster, PA.

Barry A. Cohen                                                                                                                  Kevin J Darkell
Todd Foster                                                                                                      Phillip W. Farthing, M.D., 1.D.
Chrisropher P. Jayson                                                                                                          Camille Godwin
'Alio a d m i d in Nonh Cmlinn                                                                                               Victor D. Marcinez
'Aka admitted in Illinois
                                                                                                                            Snphen L. Rornine*
*awd Gnificd Cnmirul Trial Lwyn
                                                                                                                                Fria J. ScheUer
                                                                                                                             Arrhur B. Skafidas'
                                                                    April 3,2006                                                David T. Tirella
                                                                                                                             Mark Jerome Ware
                                                                                                                              Geena D. Cohen'
             Certifwd US. Mail, Return Recei~tReauested                                                                                 Of Counsel
                                                                                                                  Barbara Casasa-Cohen, Ph.1).
                                                                                                                                Forensic Consuicanr
             The Honorable Pam Iorio, Mayor
             City of Tampa                                                                                                       Kevin Kalwary
                                                                                                                             Invertigaror/Consulrn~lc
             306 East Jackson Street
             Tampa, Florida 33602

                                                              NOTICE OF CLAIM

            Dear Mayor Iorio:
                     The purpose of this letter is to comply with Florida Statutes, Section 768.28, and to
            provide you with notice for all claims arising from the actions of the City of Tampa Police
            Department, and Officer Jason Bracato and Officer David Joyner, resulting in an illegal seizure,
            arrest, civil rights violations, death and all other claims arising from the interaction between
            Tampa Police and Musa Akil Masomakali Yazid on May 19,2005.

                       Pursuant to the Florida Statutes, we are providing you with the following information:

                          a.         Claimants, Date of Birth, Place of Birth, Social Security Number:
                                     1. Virginia Tracy Yazid
                                        Date of Birth: 4112166
                                        Social Security #: 591-24-2 121

                                     2. Khalid Earl Alphonso Yazid
                                        Date of Birth:6130199
                                        Social Security #: XXX-XX-XXXX




                                  201 East Kennedy Blvd. Suite 1000 Tampa, FL 33602 = 20. Box 172538 Tampa, FL 3.367
                                                 813-225-1655 Fax: 813-225-1921 ww.tampalawfirm.com
Case 8:07-cv-00921-EAK-EAJ Document 2 Filed 05/30/07 Page 21 of 25 PageID 51




                3. Jameisha E. Williams
                   Date of Birth: 08/03/89
                   Social Security#: XXX-XX-XXXX

         b.     The proposed style of case: Virginia Tracy Y d ,individually, and as
                Personal Representative of T k Estate of Mma Akil Masonuzkaii Yazid v. The
                City of Tampa, Jason Bracafo, and David Joyner, ef aL


        c.                                            -
                Tribunal: Thirteenth Judicial Circuit Circuit Court


        d.      There exist no prior adjudicated unpaid claims in excess of Two Hundred 00/100
                Dollars ($200.00).


        It is the claimant's desire to comply fully with the requirements of Florida Statute
 9768.28. If there is additional information needed or if you feel the compliance is deficient in
 any manner, please write us immediately and we wili correct any deficiency.




                                               Barry A. Cohen
                                               Camille Godwin

 cc:    (via certified mail, return receipt requested)
        Department of Insurance
        Division of Risk Management
        Chief Stephen Hogue, Tampa Police Department
Case 8:07-cv-00921-EAK-EAJ Document 2 Filed 05/30/07 Page 22 of 25 PageID 52


                        UNITEDSTATESPOSTAL
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                                              COHEN,  JAYSON
                                                           & FOSTER,P.A.
                                                          BLVD.,SUITJZ
                                             201 E. KENNEDY          1000
                                                  TMA, FLORIDA 33602




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      Case 8:07-cv-00921-EAK-EAJ Document 2 Filed 05/30/07 Page 23 of 25 PageID 53


                                         Cohen, Jayson &Foster,                 PA.

Barry A. Cohen                                                                                                      Eievin J. Darken
Todd Foster                                                                                          Phillip W. Farthing, M.D., J.D.
Christopher P. Jayson                                                                                              Camille Godwio
                                                                                                                 Viaor D. Marciicz
                                                                                                                Stephen L. Romine*
                                                                                                                     Fria J. Scheller

                                                         April 3,2006                                            Arthur B. S kafidas'
                                                                                                                    David T. Tirella
                                                                                                                 Mark Jerome Ware

                                                                                                                  Geena D. &hen1
          Certified U.S.Mail, Rdurn Receet Reauested                                                                        Of G u n d
         #700411600003 59371045                                                                       Barbara Casasa-Cohen, Ph.D.
                                                                                                                    Forensic Cansrriranr
         Tom Gallagher, Insurance Commissioner
         Department of Insurance                                                                                     Kevin Kalwary
                                                                                                                 Inverugaror/Conrulranr
         200 E. Gaines Street, R-413A
         Tallahassee, Florida 3 23 99



                           NOTICE OF CLAIM

         Dear Commissioner Gallagher:
                  The purpose of this letter is to comply with Florida Statutes, Section 768.28, and to
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                   a.     Claimants, Date of Birth, Place of Birth, Social Security Number:
                          1. Virginia Tracy Yazid
                             Date of Birth: 4/12/66
                             Social Security #: 591 -24-2 121

                          2. Khalid Earl Alphonso Yazid
                             Date of Birth: 6130199
                             Social Security #: 59 1-85-8354




                        201 Easr Kennedy Blvd. Suite 1000 Tampa, FL 33602 PO. Box 172538 'Tampa, FL 33672
                                       813-225-1655 Fax: 813-225-192I www.tampa~awfirrn.corn
Case 8:07-cv-00921-EAK-EAJ Document 2 Filed 05/30/07 Page 24 of 25 PageID 54




                 3. Jameisha E. Williams
                    Date of Birth: 08/03/89
                    Social Security#: XXX-XX-XXXX

         b.      The proposed style of case: Vzrginiu Tracy Yaziii, individually, and as
                 Personal Representative of The Estate of Musa Akil Mnsomakali Yazid v. The
                 City of Tampa, Jason Bracato, and David Joyner, et al.


         c.      Tribunal: Thirteenth Judicial Circuit - Circuit Court


         d.      There exist no prior adjudicated unpaid claims in excess of Two Hundred 00/100
                 Dollars ($200.00).


        It is the claimant's desire to comply fully with the requirements of Florida Statute
  $768.28. If there is additional information needed or if you feel the compliance is deficient in
  any manner, please write us immediately and we will correct any deficiency.




  cc:    (via certified mail, return receipt requested)
         Chief Stephen Hogue, Tampa Police Department
         Mayor Pam Iorio, City of Tampa
            Case 8:07-cv-00921-EAK-EAJ Document 2 Filed 05/30/07 Page 25 of 25 PageID 55




1 Complete items 1, 2, dnd 3. Also complete
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U Print your name and address on the reverse
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                            COHEN,JAYSON c.3 FOSTER,
                                                  P.A.
                           201 E. KENNEDY
                                        BLVD.,SUITE1000
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